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17
                    IN THE UNITED STATES DISTRICT COURT
18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION
19
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           ) MASIMO’S RESPONSIVE BRIEF IN
21   a Delaware corporation                 ) SUPPORT OF ITS NOTICE OF
                                            ) NOVEMBER 5TH BENCH TRIAL
22               Plaintiffs,                )
                                            )
23         v.                               ) Hon. James V. Selna
                                            )
24   APPLE INC., a California corporation   )
                                            )
25               Defendant.                 )
                                            )
26                                          )
27
28
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1          Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (jointly,
2    “Masimo”) file this brief in support of their release of remedies at law and notice of
3    bench of bench trial, and in rebuttal to Apple’s response.
4                                     I. INTRODUCTION
5          Apple is unhappy it has no control over the relief Masimo seeks. But Masimo,
6    as the sole claimant, is the master of its claims and controls whether it seeks remedies
7    at law or in equity. Masimo recently notified Apple and the Court that Masimo will
8    pursue no claims at law at the upcoming November 5 trial. As a result, neither Apple
9    nor Masimo has a Seventh Amendment right to trial by jury for those claims.
10         Apple treats Masimo’s unequivocal withdrawal of its claims for remedies at law
11   as if it were merely a withdrawal of a jury demand on claims over which Apple still has
12   a right to trial by jury. It is not. Masimo did far more than withdraw a jury demand.
13   Masimo provided clear notice that it seeks only remedies in equity for the claims
14   scheduled for trial on November 5.          Masimo thereby eliminated any Seventh
15   Amendment right either party may have had regarding those claims. Apple fails to
16   address the consequence of that filing—Apple no longer has any right to a jury trial.
17   Rule 39 and the corresponding caselaw make clear that, after a plaintiff removes any
18   Seventh Amendment right by forgoing remedies at law, the Court can empanel a jury
19   to render a binding verdict only if all parties consent. Masimo does not consent. Thus,
20   it would be error to submit the case to a binding jury verdict.
21                              II. PROCEDURAL HISTORY
22         The day before the April 2023 trial was scheduled to begin, the Court granted
23   Apple’s request to exclude Masimo’s lost profits theory. See Dkt. 1527 (April 3, 2023,
24   Minute Order excluding lost profits). Neither side questioned whether a Seventh
25   Amendment right to trial by jury existed on Masimo’s remaining theories of recovery
26   or objected to empaneling a jury to render a binding verdict. The parties simply
27   proceeded to select a jury. See Dkt. 1538 (minutes documenting jury empaneled and
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1    sworn on April 4, 2023). The trial concerned Masimo’s trade secret misappropriation
2    and patent inventorship/ownership claims.
3             The jury was ultimately unable to reach a verdict, and the Court declared a
4    mistrial on May 1, 2023. See Dkt. 1711. On April 16, 2024, the Court set Masimo’s
5    trade secret misappropriation, patent inventorship/ownership, and patent infringement
6    claims for a jury trial on November 5, 2024. See Dkt. 1944. On August 7, 2024, the
7    Court bifurcated the trials and set Masimo’s trade secret misappropriation and
8    inventorship/ownership claims for trial on November 5, 2024. See Dkt. 2064. The
9    Court postponed trial on Masimo’s patent infringement claims. See id.
10            One week later, on August 14, 2024, Masimo informed Apple that Masimo would
11   seek no remedies at law and thus intended to conduct the November 5 trial as a bench
12   trial. Ex. 1. Masimo sought Apple’s agreement. See id. On August 19, 2024, Apple
13   responded that it disagreed and asserted the November 5 trial would be to a jury. Id.
14            On August 22, 2024, Masimo eliminated any potential dispute regarding whether
15   the retrial should be to the Court or to a jury. Masimo filed a formal Notice that
16   eliminated any Seventh Amendment right by waiving legal remedies for the claims set
17   for the November 5 trial. Masimo unequivocally stated that, for “the claims to be tried
18   on November 5, Plaintiffs seek only equitable remedies, such as injunctive relief,
19   disgorgement, unjust enrichment, and any other equitable relief as the Court may deem
20   just.”    Dkt. 2076 (Notice of Consent to Bench Trial).           Masimo explained that,
21   accordingly, “no party has a right to trial by jury for any of the claims to be tried at that
22   trial.” Id. Masimo further provided formal Notice that it does not consent to try its
23   remaining claims in equity to a jury and intends to try those claims to this Court. Id.
24                                       III. ARGUMENT
25            Apple’s argument largely tracks arguments raised by True Wearables that this
26   Court rejected. Apple, much like True Wearables before it, ignores that a Seventh
27   Amendment right to trial by jury exists only where the plaintiff seeks remedies at law.
28   Alvarado v. Cajun Operating Co., 588 F.3d 1261, 1270 (9th Cir. 2009) (“no right to a

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1    jury exists for equitable claims”); United States v. Le Beau, 2023 WL 4611814, at *4
2    (S.D. Cal. July 18, 2023) (“the right to a jury trial depends on the nature of the relief
3    that is sought” (citing Chauffeurs, Teamsters & Helpers, Loc. No. 391 v. Terry, 494
4    U.S. 558, 565-66 (1990)). The plaintiff has a unilateral ability to forego remedies at
5    law and eliminate any right to trial by jury. That is exactly what Masimo did.
6          Apple, again exactly like True Wearables, inaccurately asserts that, under
7    Rule 38, Apple “would need to consent to foregoing a jury trial” because Masimo
8    previously demanded a jury. Apple Br. [Dkt. 2078] at 1:14-15; compare with Masimo
9    Corp. v. True Wearables, Inc., No.8:18-cv-02001-JVS-JDE, Dkt. 399-1 at 3:21-25
10   (Dec. 16, 2021) (defendants arguing Masimo’s waiver was “procedurally improper
11   because Defendants do not consent to it.”). Apple would be correct only if it still had a
12   right to trial by jury. If Apple had a Seventh Amendment right, and if Masimo had
13   simply withdrawn Masimo’s jury demand, then Rule 38(d) would apply. In that
14   hypothetical, Apple would have to waive its Seventh Amendment right before the case
15   could be tried to the bench.
16         However, Masimo did not simply withdraw its jury demand regarding claims on
17   which Apple has a Seventh Amendment right. Masimo filed a legally operative
18   document that eliminated any potential Seventh Amendment right by providing clear
19   notice that Masimo seeks no remedies at law. As in True Wearables, that notice relieves
20   this Court from awarding any remedy the Court deems legal in nature. The Court need
21   not resolve, at this stage, whether any potential remedy is at law or in equity. The Court
22   will determine the nature of the remedy after all the evidence has been presented at trial.
23   Should the Court determine that any remedy being sought by Masimo is at law, the Court
24   should not grant that relief because Masimo has provided clear notice it seeks no such
25   relief. The Court would then limit its award to remedies it deems equitable in nature.
26         The Court also need not resolve the academic question of whether the parties had
27   a Seventh Amendment right to trial by jury before Masimo filed its Notice. Masimo
28   has expressly agreed to forego any remedies at law for the claims to be tried on

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1    November 5. See Dkt. 2076. The absence of any remaining remedy at law means there
2    is no longer any right to a jury trial on those claims. Thus, the issue is now governed
3    by Rule 39(c). Under Rule 39(c), all parties would have to consent to a jury trial. Thus,
4    Apple’s preference is irrelevant.
5    A.     Apple Has No Right To Trial by Jury On The Claims Set For Trial On
6           November 5, 2024
7           As the master of its claims, Masimo controls which remedies it will seek at trial.
8    See generally Fair v. Kohler Die and Specialty Co., 228 U.S. 22, 25 (1913); Teutcher v.
9    Woodson, 835 F.3d 936, 956 (9th Cir. 2016). This includes whether to elect remedies
10   at law or remedies in equity. See Lorang v. Alaska S.S. Co., 2 F.2d 300. 303-04 (W.D.
11   Wash. 1924). Masimo explicitly confirmed it is not seeking any remedies at law for the
12   claims to be tried on November 5. See Dkt. 2076.
13          Apple asserts that “[t]his trade secret case implicates various legal issues, and on
14   those issues, parties have a Seventh Amendment right to a jury.” Apple Br. [Dkt. 2078]
15   at 1:8-9. Apple does not identify any such “legal issue” and offers no supporting record
16   or legal citation. See id. Nor could it. Any Seventh Amendment right the parties may
17   have had before Masimo agreed to forego remedies at law is now irrelevant.
18          No right to trial by jury exists where the plaintiff seeks only equitable relief.
19   “Where legal claims are withdrawn, leaving only equitable claims, the Seventh
20   Amendment no longer preserved the right to jury trial and the court may strike the jury
21   demand.” Federal Trial Handbook: Civil § 16:1 (2023-2024 Edition) (citing Whitson v.
22   Knox Cnty. Bd. of Educ., 468 F. App’x 532, 537 (6th Cir. 2012) (“When subsequent
23   events leave only equitable issues to be resolved, the right to a jury trial does not exist
24   and is not preserved by the Seventh Amendment or Federal Rule of Civil
25   Procedure 38.”)); Anti-Monopoly, Inc. v. Gen. Mills Fun Grp., 611 F.2d 296, 307-08
26   (9th Cir. 1979) (district judge “plainly erred” in concluding there was a right to trial by
27   jury where plaintiff originally asserted a claim for damages but “both parties sought only
28   equitable relief” on the issues for trial).

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1          The result is the same whether the plaintiff voluntarily withdraws its request for
2    remedies at law or the court prevents the plaintiff from seeking remedies at law. See,
3    e.g., Shubin v. United States District Court, 313 F. 2d 250, 251-53 (9th Cir. 1963) (where
4    stipulations established “no possibility that damages could be awarded” a claim that
5    might otherwise be at law became “a purely equitable claim”); Anti-Monopoly, Inc. v.
6    Gen. Mills Fun Grp., Inc., 1976 WL 20999, at *1 (N.D. Cal. Oct. 15, 1976) (“Since their
7    claim for damages has been withdrawn, … plaintiff’s demand for a jury trial is denied.”);
8    Bayoh v. Afropunk LLC, 2020 WL 8838281, at *1 (S.D.N.Y. Oct. 28, 2020) (summary
9    judgment of no damages means plaintiff “no longer has a right to a jury trial”). Here,
10   Masimo has now withdrawn any requests for legal remedies.
11   B.    Apple’s Seventh Amendment Right Was Eliminated, Not “Set Aside”
12         Apple argues that Masimo’s Notice provided “no explanation for why that
13   Seventh Amendment requirement can be set aside … .” Apple Br. [Dkt. 2078] at 1:15-
14   16. Apple does not explain what it means by “that” Seventh Amendment requirement
15   or by “set aside.” If Apple means the Notice itself did not explain why forgoing remedies
16   at law eliminated Apple’s right to trial by jury, this Court recently addressed the same
17   issue under almost identical circumstances.
18         In True Wearables, this Court held that a trade secret plaintiff can unilaterally
19   nullify any prior jury request simply by confirming it will seek only equitable remedies
20   at trial. The Court explained:
21         With respect to the argument that, under 38(d) of the Federal Rules of Civil
           Procedure, defendants have to give their consent before plaintiff can
22
           withdraw [its jury demand], that no longer is effective given the absence of
23         any claims that would support a jury trial.
24   True Wearables, No. 8:18-cv-02001-JVS-JDE, Hr’ng Tr. at 16:6-10 (C.D. Cal. Dec. 20,
25   2021) (punctuation added) (courtesy copy attached as Ex. 2); id. at Dkt. 411
26   (corresponding minute entry, courtesy copy attached as Ex. 3); see also Masimo Corp.
27   v. True Wearables, Inc., 2022 WL 17083396, at *33 (C.D. Cal. Nov. 7, 2022) (plaintiffs’
28   decision “to forego the right to damages and demand a bench trial over Defendants’

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1    objection … was within Plaintiffs’ prerogative”); see also Hope Med. Enters. v. Fagron
2    Compounding Servs., 2021 WL 2941546, at *1–2, n.1 (C.D. Cal. July 12, 2021) (quoting
3    Fed. R. Civ. P. 39(a)(2)).
4    C.    Apple’s Case-Specific Arguments Lack Merit
5          Apple’s two “case-specific” arguments lack merit as explained below.
6           1.     Masimo May Unilaterally Choose A Bench Trial On Its Claims
7          Apple’s first argument is that Masimo’s Notice somehow “violates FRCP 38
8    and 39.” Apple Br. [Dkt. 2078] at 1:19. Masimo’s Notice was proper under both Rules.
9                 a.     Rule 38 Does Not Apply
10         Numerous cases confirm that “Rule 38, as is made clear by its caption, is
11   concerned with jury trials of right.” Kramer v. Banc of Am. Sec., LLC, 355 F.3d 961,
12   968 (7th Cir. 2004) (emphasis added); Thaler v. PRB Metal Prod., Inc., 810 F. Supp. 49,
13   50 (E.D.N.Y. 1993) (“Rule 38, by its very title, applies solely to cases in which the
14   parties have a right to a jury trial under the Seventh Amendment.”).
15         Masimo’s Notice provided that Masimo is not seeking remedies at law, and seeks
16   only equitable relief, for the claims set to be tried on November 5. Rule 38 could apply
17   only if Apple established that it currently has a right to trial by jury on claims for which
18   Masimo is not pursuing legal remedies. Apple makes no attempt to establish it has, or
19   could have, a Seventh Amendment right on claims that seek only equitable relief. Thus,
20   Rule 38 does not apply.
21                b.     Rule 39 Allows Masimo To Unilaterally Withdraw Its Jury
22                       Demand
23         Where, as here, no right to a jury trial exists, the issue is governed by Rule 39 and
24   “a party may unilaterally withdraw its consent to a jury trial.” FN Herstal SA v. Clyde
25   Armory Inc., 838 F.3d 1071, 1089–90 (11th Cir. 2016). Unlike Rule 38, “there is no
26   restraint in the text of Rule 39 on the ability of a party to withdraw its consent to a jury
27   trial that is not of right.” Kramer, 355 F.3d 961, 968. Numerous district courts have
28   recognized that a plaintiff may unilaterally withdraw its jury demand, over defendant’s

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1    objection, where there is no right to trial by jury. See In re Christou, 448 B.R. 859, 862
2    (N.D. Ga. 2011) (“Defendants lost their absolute right to a jury trial and as a result
3    Plaintiff is entitled to unilaterally withdraw his consent to a jury trial in any forum.”);
4    Thaler, 810 F. Supp. 49, 50 (E.D.N.Y. 1993) (“because there is no right to a jury trial in
5    this case and defendants have, by the instant motion, withdrawn their consent to such a
6    trial, defendants’ motion to strike the jury demand is granted”).
7          Apple cites an irrelevant Ninth Circuit case where the parties had a right to trial
8    by jury on at least one claim because plaintiff sought remedies at law. Apple Br. [Dkt.
9    2078] at 1:19-22 (citing Fuller v. City of Oakland, 47 F.3d 1522, 1530-31 (9th Cir.
10   1995)). Fuller addressed the unremarkable proposition that, where one party makes a
11   “valid” jury demand, its adversary may rely on that demand as if it were its own. Id.
12   But here, neither Masimo nor Apple has a remaining “valid” jury demand regarding the
13   claims set for trial on November 5 because Masimo relinquished all remedies at law for
14   those issues and seeks only equitable relief. A party cannot validly demand a jury trial
15   on claims merely because a party previously asserted a claim for damages and demanded
16   a jury. Anti-Monopoly, 611 F.2d at 307-08.
17         Apple does not dispute that Masimo’s Notice eliminated any potential right to trial
18   by jury. Nor could it. “Courts have held that parties may abandon claims for damages
19   in order to convert the matter from a legal to an equitable claim and avoid a jury trial.”
20   Starbucks Corp. v. Lundberg, 2005 WL 6036699, at *4 (D. Or. May 25, 2005) (citing
21   Anti-Monopoly, 611 F.2d at 308). Thus, the subject matter of the currently scheduled
22   on November 5 trial carries no right to trial by jury.
23         Apple never addresses the fundamental reality that a plaintiff that “abandons its
24   claim for damages is treated under the Seventh Amendment historical test in exactly the
25   same way as a [party] who never brought a damages claim at all.” MedImmune, Inc. v.
26   Genentech, Inc., 535 F. Supp. 2d 1020, 1028 (C.D. Cal. 2008).
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1                 c.     The Prior Mistrial Is Irrelevant
2          Apple also complains about the timing of Masimo’s Notice. Apple cites Fuller
3    for the proposition that “a party cannot unilaterally withdraw a request for a jury ‘once
4    trial begins.” Apple Br. [Dkt. 2078] at 1:22-23. But Masimo is not withdrawing its
5    jury demand after “trial begins.” Masimo withdrew its requests for remedies at law
6    months before trial.
7          Apple’s reliance on the mistrial is baseless because “a mistrial is equivalent to no
8    trial; it is a nugatory proceeding.” 58 Am. Jur. 2d New Trial § 6; 75B Am. Jur. 2d Trial
9    § 1412 (“A mistrial results in nullification of a pending jury trial. A mistrial is a
10   proceeding that has miscarried, and the consequence is not a trial.”). Courts have
11   rejected similar arguments that a mistrial somehow means a trial has already occurred.
12   United States v. Mauskar, 557 F.3d 219, 225 (5th Cir. 2009) (motion to dismiss after
13   mistrial was timely based on “long-established principle that ‘[t]he declaration of a
14   mistrial renders nugatory all trial proceedings with the same result as if there had been
15   no trial at all’”); Newton v. Superior Ct. of California, In & For Alameda Cnty., 803
16   F.2d 1051, 1056 (9th Cir. 1986) (order preceding mistrial was not final and appealable
17   for res judicata to apply because “mistrial is tantamount to a holding that there was no
18   trial”); Dart v. McKinney, 7 F. Cas. 1, 1 (C.C.S.D.N.Y. 1872) (case could be removed
19   to federal court after mistrial because “the case now stands for trial, as if no former trial
20   had occurred.”).
21         Accordingly, trial has not begun. Masimo notified this Court and Apple that
22   Masimo withdrew its request for remedies at law promptly after this Court granted
23   Apple’s repeated demands to separate the trade secret and patent trials. The bifurcated
24   trial is still months away. Thus, Apple cannot distinguish True Wearables by relying
25   on the mistrial. Apple Br. [Dkt. 2078] at 2 n.3.
26         Apple ignores that courts regularly strike jury demands far closer to trial because,
27   under Rule 39, courts do not have discretion to impose a jury over any party’s objection
28   where no right to trial by jury exists. For example, courts have “affirmed a district

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1    court’s striking a jury demand ‘days before trial’ without any consideration of prejudice
2    because no right to a jury existed where only equitable relief was sought.” FN Herstal,
3    838 F.3d at 1088 (citing CBS Broad., Inc. v. EchoStar Commc’ns Corp., 450 F.3d 505,
4    517 n.25 (11th Cir. 2006)); CPI Plastics, Inc. v. USX Corp., 22 F. Supp. 2d 1373, 1378
5    (N.D. Ga. 1995) (no prejudice from striking jury because, “[w]hile all parties have
6    operated under the assumption that the trial would be before a jury up to this point, two
7    weeks remain before the trial to allow the parties to adjust their presentation for a bench
8    trial.”), aff'd, 43 F.3d 678 (11th Cir.1994); Kingsbury v. U.S. Greenfiber, LLC, 2013
9    WL 12121540, at *1 (C.D. Cal. Nov. 4, 2013) (“‘a court has the discretion to permit a
10   motion to strike a jury demand at any time, even on the eve of trial.’” (quoting Tracinda
11   Corp. v. DaimlerChrysler AG, 502 F.3d 212, 226-27 (3d Cir. 2007)); Hope Med., 2021
12   WL 2941546, at *1–2, n.1; Moore's Federal Practice § 39.13[2][c] (3d ed. 2013)
13   (“Parties have a great deal of latitude on the timing of motions to strike a jury demand.”).
14         Thus, Apple’s complaints about the timing of Masimo’s non-consent simply have
15   no bearing on the Seventh Amendment. Indeed, after any party withdraws its request
16   for a jury trial in a case where there is no right to a jury trial, “the court cannot allow a
17   jury trial.” Zittrouer by Dunn v. Uarco Inc. Grp. Ben. Plan, 582 F. Supp. 1471, 1478
18   n.9 (N.D. Ga. 1984) (emphasis added).
19          2.     There Is No Estoppel
20         Apple’s second argument fares no better. Apple argues that Masimo is estopped
21   from abandoning its “request for a jury trial for this case” because of Masimo’s earlier
22   arguments regarding Apple’s laches defense. Apple. Br. [2078] at 2:7-8. Apple again
23   cites no case that estopped a plaintiff from withdrawing a jury demand, much less that
24   estopped a plaintiff from eliminating a Seventh Amendment right by unequivocally
25   withdrawing a request for remedies at law. Masimo is not aware of any such case and
26   Ninth Circuit authority is to the contrary. The Ninth Circuit held that, after a jury verdict
27   is vacated on appeal, a party may withdraw its consent to retrying the claims to a jury
28   where no Seventh Amendment right remains. Harbor Breeze Corp. v. Newport Landing

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1    Sportfishing, Inc., 28 F.4th 35, 39-41 (9th Cir. 2022). The Ninth Circuit applied no
2    estoppel even though both parties accused each other of changing positions on appeal.
3    See id.
4          Because trying a case to a jury verdict does not estop a party from withdrawing
5    a jury request for the retrial, a mistrial certainly cannot. At least one district court
6    appears to have reached exactly that conclusion. In a case where the plaintiff made a
7    jury demand and a first trial resulted in a mistrial, the court allowed the plaintiff to
8    eliminate any right to trial by jury and conduct the retrial to the bench over the
9    defendant’s Rule 39-based objection. Est. of Allen v. Baltimore Cnty., Maryland, No.
10   1:13-cv-03075-CCB, Dkts. 172-174, 187 (D. Md. 2016).
11                a.       Apple Mischaracterizes Masimo’s Earlier Argument
12         Apple asserts Masimo argued the Court “could not resolve either defense [statute
13   of limitations or laches] in Apple’s favor as they were intertwined with Masimo’s trade
14   secret claim[.]” Apple. Br. [2078] at 2:7-8 (emphasis added). Masimo actually argued
15   that Apple’s laches defense was factually intertwined with Apple’s statute of
16   limitations defense. See Dkt. 1828 at 6, 7. Indeed, Apple argued that prevailing on its
17   statute of limitations defense was a predicate to reaching its laches defense. Apple
18   conceded that “laches is inapplicable” to timely claims for trade secret misappropriation
19   and asked the Court to apply laches only “as an equitable bar to untimely
20   misappropriation claims.” Dkt. 1900 (2023-08-04 Order) at 4. The Court determined
21   it could not address the laches defense “until a jury returned factual findings on the
22   intertwined statute of limitations defense.” Id. at 4-5.
23         At the time, Masimo had not withdrawn its claim for legal remedies. Whether an
24   affirmative defense must be tried to the jury “is determined by the nature of the claim,
25   not the nature of the defense.”      Ex. 2 (True Wearables, Hr’ng Tr.) at 17:8-10.
26   Accordingly, both parties understood that Apple’s statute of limitations defense was for
27   the jury to decide.
28

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1          That changed after Masimo filed its Notice. Eliminating any right to trial by jury
2    on Masimo’s misappropriation claim also removed Apple’s statute of limitations
3    defense from the jury. This is because “no jury trial right arises from an affirmative
4    defense.” Trans Bay Cable LLC v. M/V Ocean Life, 2015 WL 7075618, at *3 (N.D.
5    Cal. Nov. 13, 2015); Hynix Semiconductor Inc. v. Rambus, Inc., 527 F. Supp. 2d 1084,
6    1102 (N.D. Cal. 2007) (“an affirmative defense does not entitle a party to a jury trial.”).
7    Whether a defense that is otherwise “‘legal’ in nature” is tried to the court or to a jury
8    depends on whether there is a right to trial by jury on the underlying claim for relief.
9    See id.
10                b.     Estoppel Cannot Apply Because Masimo’s Arguments Are
11                       Consistent
12         Estoppel requires, among other elements, that a party takes “inconsistent” or
13   “contrary” positions. See Apple Br. [Dkt. 2078] at 2:20-21 (citing New Hampshire v.
14   Maine, 532 US 742, 749-51 (2001)). Masimo’s Notice withdrew any legal remedies
15   and agreed to seek only remedies in equity for the bifurcated trade secret
16   misappropriation claims to be tried on November 5. Masimo’s decision eliminated any
17   Seventh Amendment rights the parties may otherwise have had on Masimo’s claims
18   and thus on Apple’s affirmative defenses to those claims. The change in circumstances
19   does not make Masimo’s earlier arguments inconsistent with its current arguments.
20   Rather, Masimo’s relinquishing of legal remedies changed the circumstances and
21   eliminated any question about a right to a jury trial.
22                                     IV. CONCLUSION
23         For the reasons set forth above, the parties have no right to trial by jury and the
24   Court should set the November 5, 2024, trial as a bench trial.
25   ///
26   ///
27   ///
28   ///

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1                                CERTIFICATE OF COMPLIANCE
2          The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 3,942 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
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